   Case 2:14-cr-00168-LMA-KWR             Document 359        Filed 09/04/15        Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                CRIMINAL ACTION


 VERSUS                                                                               NO. 14-168


 LANCE SINGLETON                                                                      SECTION I
 RAY WOODRUFF

                                   ORDER AND REASONS

       Before the Court are oppositions filed by defendants, Lance Singleton (“Singleton”)1 and

Ray Woodruff (“Woodruff”),2 to the government’s notice3 of intent to admit intrinsic evidence or,

alternatively, notice of intent to introduce “other act” evidence pursuant to Rule 404(b) of the

Federal Rules of Evidence. The government has filed a response.4 The Court held a status conference

regarding the issues raised by the parties and now issues this order and reasons.

                                        BACKGROUND

       Singleton and Woodruff, along with others, are charged in a sixteen-count superseding

indictment.5 Count one charges Singleton, Woodruff, and others with conspiracy to distribute and

possess with the intent to distribute cocaine base and heroin beginning “not later than January 1,

2010, and continuing until on or about November 20, 2013.”6 Count two charges both Singleton,

Woodruff, and others with conspiracy to possess firearms in furtherance of drug trafficking crimes



       1
         R. Doc. No. 225.
       2
         R. Doc. No. 224.
       3
         R. Doc. No. 211.
       4
         R. Doc. No. 265.
       5
         R. Doc. No. 174.
       6
         R. Doc. No. 174, at 2.

                                                1
     Case 2:14-cr-00168-LMA-KWR            Document 359        Filed 09/04/15      Page 2 of 7




beginning “not later than August 1, 2012, and continuing until on or about July 9, 2013.”7 Count

three charges Singleton with possession with the intent to distribute crack cocaine on or about

January 5, 2012,8 and count four charges that on or about January 5, 2012, Singleton possessed a

firearm in furtherance of the drug trafficking crime charged in count three.9 Count seven charges

Singleton and another defendant with causing the death of Shanna Girod and Willie Odom on or

about August 18, 2012, in violation of 18 U.S.C. § 924(c)(1) and (j)(1)-(2).10 Counts nine and eleven

charge Woodruff and others with knowingly using, carrying, brandishing, and discharging firearms

during and in relation to a drug trafficking crime on or about January 12, 2013, and February 11,

2013, respectively.11 Count twelve charges Woodruff and other defendants with causing the death

of Emeal Washington on February 11, 2013, in violation of 18 U.S.C. § 924(c)(1) and (j)(1)-(2).12

Count thirteen charges Woodruff and other defendants with causing the death of Doreth Richardson

on February 15, 2013, in violation of 18 U.S.C. § 924(c)(1) and (j)(1)-(2).13 Count fifteen charges

Woodruff with distribution of heroin on June 18, 2013.14

                                     LAW AND ANALYSIS

A.     Applicable Law

       Rule 404(b)(1) of the Federal Rules of Evidence provides, “Evidence of a crime, wrong, or

other act is not admissible to prove a person’s character in order to show that on a particular



       7
         R. Doc. No. 174, at 2-3.
       8
         R. Doc. No. 174, at 3.
       9
         R. Doc. No. 174, at 3.
       10
          R. Doc. No. 4-5.
       11
          R. Doc. No. 174, at 5-6.
       12
          R. Doc. No. 174, at 7.
       13
          R. Doc. No. 174, at 7-8.
       14
          R. Doc. No. 174, at 3.

                                                 2
   Case 2:14-cr-00168-LMA-KWR              Document 359        Filed 09/04/15      Page 3 of 7




occasion the person acted in accordance with the character.” Rule 404(b)(2) specifies that such

evidence may be admissible, however, “for another purpose, such as proving motive, opportunity,

intent, preparation, plan, knowledge, identity, absence of mistake, or lack of accident.”

         In order to determine whether “other acts” evidence is admissible, the Court must first

determine whether the evidence is intrinsic or extrinsic to the charged crime. United States v.

Coleman, 78 F.3d 154, 156 (5th Cir. 1996). Rule 404(b) only applies to extrinsic other acts. United

States v. Rice, 607 F.3d 133, 141 (5th Cir. 2010).

         “‘Other act’ evidence is ‘intrinsic’ when the evidence of the other act and the evidence of

the crime charged are ‘inextricably intertwined’ or both acts are part of a ‘single criminal episode’

or the other acts were ‘necessary preliminaries’ to the crime charged.” Id. (quoting United States v.

Williams, 900 F.2d 823, 825 (5th Cir. 1990)). Such evidence is admissible to “‘complete the story

of the crime by proving the immediate context of events in time and place,’ and to ‘evaluate all of

the circumstances under which the defendant acted.’” Id. (citations omitted). The Fifth Circuit has

“given greater latitude in classifying evidence as intrinsic” when a defendant is charged with

conspiracy, as are Singleton and Woodruff. See United States v. Girod, 646 F.3d 304, 320 (5th Cir.

2011).

         If evidence is not “intrinsic,” the next question is whether the evidence is admissible

pursuant to Rule 404(b) of the Federal Rules of Evidence. Rule 404(b) prohibits the admission of

evidence of a crime, wrong, or other act to prove a person’s character in order to show that on a

particular occasion the person acted in accordance with such character. In United States v. Beechum,

the Fifth Circuit outlined a two-step test to determine the admissibility of extrinsic evidence of

“other acts.” 582 F.2d 898, 911 (5th Cir. 1978). “Under Beechum, evidence of extrinsic offenses is


                                                  3
   Case 2:14-cr-00168-LMA-KWR               Document 359         Filed 09/04/15      Page 4 of 7




admissible if it is (1) relevant to an issue other than the defendant’s character, and (2) the

incremental probative value of the evidence is not substantially outweighed by the danger of unfair

prejudice to the defendant.” United States v. Peters, 283 F.3d 300, 312 (5th Cir. 2002).

       “‘Evidence is relevant if it makes the existence of any fact at issue more or less probable than

it would be without the evidence.’” United States v. Williams, 957 F.2d 1238, 1244 (5th Cir. 1992)

(quoting Williams, 900 F.2d at 826). The relevance of an extrinsic offense “is a function of its

similarity to the offense charged,” and similarity must be determined with respect to the particular

“issue to which the extrinsic offense is addressed.” Beechum, 582 F.3d at 911.15 Furthermore, other

acts evidence is relevant “only if the jury can reasonably conclude that the extrinsic act occurred and

that the defendant was the actor.” United States v. Bailey, 111 F.3d 1229, 1233 (5th Cir. 1997).

       In making its relevance determination, the Court is not required to make a preliminary

finding that an extrinsic act in fact occurred. Huddleston v. United States, 485 U.S. 681, 688-89

(1988). The Court may instead admit extrinsic offense evidence under Federal Rule of Evidence

104(b), which requires the Court to “examine[] all the evidence in the case and decide[] whether the

jury could reasonably find the conditional fact … by a preponderance of the evidence.” Id. at 690.

The Court has broad discretion to control the order of proof at trial, and it may allow the government

to introduce evidence concerning a similar act subject to a later assessment of whether sufficient

evidence has been offered to permit the jury to make the requisite finding. Id. Only if the

government ultimately fails to meet this “minimal standard of proof” must the Court instruct the jury

to disregard the evidence that was conditionally admitted. Id.



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        “[O]verall similarity is not required,” however, “when the offense is introduced to
show motive.” Id. at 911 n.15.

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     Case 2:14-cr-00168-LMA-KWR             Document 359         Filed 09/04/15      Page 5 of 7




       With respect to substantial prejudice, the second part of the Beechum test “calls for a

commonsense assessment of all the circumstances surrounding the extrinsic offense.” Beechum, 582

F.2d at 914. Several factors are relevant to this assessment: “(1) the government’s need for the

extrinsic evidence, (2) the similarity between the extrinsic and charged offenses, (3) the amount of

time separating the two offenses, and (4) the court’s limiting instructions.” United States v. Kinchen,

729 F.3d 466, 473 (5th Cir. 2013).

B.     Analysis

       The Court held a status conference with counsel for the government, Woodruff, and

Singleton on September 3, 2015.16 The discussion centered on the disputed evidence which the

government has stated it intends to introduce at trial.

       As discussed at the conference, the Court concludes that with respect to evidence of the

recorded telephone conversations involving Woodruff,17 the May 21, 2012 high speed chase

involving Woodruff,18 and the three interviews by police of Woodruff or Singleton,19 such evidence

is intrinsic to the drug conspiracy charged in count one and therefore admissible. If any of those

incidents are not intrinsic to the conspiracy, the Court alternatively holds that they are relevant to

establish the association between the alleged co-conspirators as well as their intent, and that “the

incremental probative value of the evidence” is not “substantially outweighed by the danger of



       16
          R. Doc. No. 356.
       17
          R. Doc. No. 211, at 8. In its response, the government listed two telephone calls
involving Woodruff which took place on November 11, 2013, and November 14, 2013. R. Doc.
No. 265, at 5.
       18
          R. Doc. No. 208, at 9.
       19
          R. Doc. No. 211, at 6, 7, 8. At the status conference on September 3, 2015, counsel for
the government agreed to provide to counsel for Singleton and Woodruff the names of the law
enforcement officers involved in the three stops.

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   Case 2:14-cr-00168-LMA-KWR              Document 359        Filed 09/04/15      Page 6 of 7




unfair prejudice” to either defendant. See Peters, 283 F.3d at 312. Should either defense counsel

decide to maintain an objection to such evidence, counsel may renew such objection at trial and/or

request an appropriate limiting instruction.

       With respect to (1) the August 20, 2007, aggravated batteries committed by Singleton and

another co-defendant, Joequell Lewis,20 and (2) the March 31, 2012, incident involving Woodruff,

Singleton’s father’s vehicle, and two handguns (one of which was allegedly stolen),21 the Court is

unable to decide the admissibility of such evidence at this time without hearing the context within

which such evidence can be evaluated.22 Accordingly, a determination of the admissibility of

evidence and testimony related to these incidents is deferred until trial. Counsel for the government

shall request permission from the Court before attempting to elicit any testimony or introduce any



       20
           R. Doc. No. 211, at 13. One of the victims of the aggravated batteries is the brother of
Patrick Alexander, who was allegedly shot by defendants other than Singleton on February 11,
2013. See R. Doc. No. 211, at 13. The aggravated batteries, committed by Singleton and Joequell
Lewis, occurred on August 20, 2007. The government’s reasons in support of the admissibility of
the aggravated batteries is tenuous at this stage of the proceedings.
        21
           R. Doc. No. 211, at 7.
        22
           In particular, the Court notes that the March 31, 2012, incident raises multiple
problematic issues with respect to (1) the fact that Woodruff, who allegedly “originally denied
owning the guns and claimed that he had only known Singleton for a month,” R. Doc. No. 265,
at 3, and later Singleton, a convicted felon, were each arrested in connection with the March 31,
2012 incident–Woodruff for possession of a stolen firearm and Singleton for possession of a
stolen firearm and being a convicted felon in possession of a firearm; (2) the fact that Woodruff,
who was not a convicted felon, later attempted to take responsibility for the firearms after
allegedly being pressured to do so by Singleton’s family; (3) a lack of proof regarding whether
these defendants knew that any of the guns were stolen;(4) the fact that the March 31, 2012,
incident is within the temporal scope of the drug conspiracy charged in count one but outside the
temporal scope of the gun conspiracy charged in count two (although such fact is not fatal to the
government’s argument); and (5) the fact that the automobile involved did not belong to
Singleton but to his father. The Court is concerned that these issues raise a danger of unfair
prejudice, confusion of the issues, undue delay, and waste of time that may substantially
outweigh any probative value of the incident and warrant exclusion of the evidence pursuant to
Rule 403 of the Federal Rules of Evidence.

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   Case 2:14-cr-00168-LMA-KWR              Document 359         Filed 09/04/15      Page 7 of 7




evidence related to these incidents.

                                          CONCLUSION

       Accordingly, for the foregoing reasons,

       IT IS ORDERED that the objections filed by Woodruff and Singleton are DENIED with

respect to the admissibility of the November 11 and November 14, 2013, recorded telephone

conversations involving Woodruff, the May 21, 2012 high speed chase involving Woodruff, and the

three interviews by police of Woodruff or Singleton. Should counsel for Woodruff or Singleton

object to any such rulings, counsel may object at trial and/or request a limiting instruction.

       IT IS FURTHER ORDERED that the Court’s rulings are DEFERRED with respect to the

admissibility of (1) the August 20, 2007, aggravated batteries committed by Singleton and co-

defendant, Joequell Lewis, and (2) the March 31, 2012, incident involving Woodruff, Singleton’s

father’s vehicle, and the two handguns.

       IT IS FURTHER ORDERED that counsel for the government shall request permission

from the Court before arguing and/or attempting to elicit any testimony or introduce any evidence

related to (1) the August, 20, 2007 aggravated batteries committed by Singleton and co-defendant,

Joequell Lewis; and (2) the March 31, 2012 incident involving Woodruff, Singleton’s father’s

vehicle, and the two handguns.

       New Orleans, Louisiana, September 4, 2015.

                                                      ________________________________
                                                      LANCE M. AFRICK
                                                      UNITED STATES DISTRICT JUDGE




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